            Case 1:15-cr-00046-LJO-SKO Document 204 Filed 05/21/19 Page 1 of 4



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 4
     Telephone: (559) 497-6132
 5
     Attorney for Defendant,
 6   LENELE MARIA NUNEZ
 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                                 Case No. 1:15-CR-00046 LJO-SKO

12           Plaintiff,                                        STIPULATION TO CONTINUE
                                                               SENTENCING HEARING
13                  v.                                         AND ORDER THEREON

14   LENELE MARIA NUNEZ,                                       DATE: September 16, 2019
                                                               TIME: 9:30 a.m.
15          Defendant.                                         Courtroom Four

16                                                             Honorable Lawrence J. O'Neill

17
18          Defendant, LENELE MARIA NUNEZ, by and through her counsel, John F. Garland and
19
     the United States of America, by and through its counsel, McGregor W. Scott, United States
20
     Attorney and Kathleen A. Servatius, Assistant United States Attorney, hereby stipulate to continue
21
     the defendant's sentencing hearing from June 10, 2019 to September 16, 2019 at 9:30 a.m. This
22
23   continuance is necessary for the following reasons:

24   (1) The defendant had major surgery on November 10, 2016 to remove a cancerous tumor and her
25
     physician had determined that she needed chemotherapy treatments to be administered for six
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     months (mid-January through mid-July).
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            Case 1:15-cr-00046-LJO-SKO Document 204 Filed 05/21/19 Page 2 of 4


     (2) In May 2017 the defendant was not responding to the chemotherapy treatments and her
 1
 2   physician discovered that a new tumor had developed and the cancer was very aggressive.

 3   (3) The defendant's physician referred her to Stanford University Medical Center where the

 4   physicians confirmed that the cancer was very aggressive and had advanced to stage four. The
 5
     Stanford medical team scheduled the defendant for surgery on August 2, 2017. On July 31, 2017
 6
     the defendant's August 2nd surgery was cancelled because the Stanford medical team determined
 7
     that radiation treatment was necessary in order to shrink the tumor and reduce the possibility that
 8
 9   the cancer would spread throughout the defendant's body.

10   (4) The defendant completed the radiation treatments in September 2017 but the treatments were
11
     not successful in shrinking the new tumor. The radiation treatments caused the defendant severe
12
     pain and discomfort resulting in hospitalization and a pulmonary embolism was discovered. The
13
     defendant is currently being treated with blood thinners and undergoing immunotherapy to combat
14
15   the cancer and shrink the tumor. The defendant underwent immunotherapy treatments (treatment

16   every three weeks) for five months which treatments proved to be successful in shrinking the
17   tumor.
18
     (5) On August 3, 2018 the doctors discovered the defendant was nine weeks pregnant and the
19
     immunotherapy treatment was placed on hold due to the risks to the defendant and the fetus. The
20
21   Stanford medical team has advised the defendant that the immunotherapy should resume

22   approximately four to six weeks after the baby is delivered and subject to the defendant's health
23   condition at that time.
24
     (6) The defendant's baby was delivered one month early on February 13, 2019 by emergency
25
     cesarean section due to the defendant's health issues. The baby is now doing well and defendant is
26
27   still recovering. The defendant has been going to appointments with her primary care physician,

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            Case 1:15-cr-00046-LJO-SKO Document 204 Filed 05/21/19 Page 3 of 4


     her oncologist and the Stanford medical team. Testing and scans have been completed and a
 1
 2   treatment plan is being formulated. The defendant's mediport is no longer functioning and needs

 3   to be replaced by outpatient surgery. The surgery has not yet been scheduled. The defendant has a

 4   colonoscopy scheduled on May 23, 2019 and an endometrial biopsy is scheduled on May 29, 2019.
 5
     After the above procedures are completed the oncology team plans to commence another 9 to 12
 6
     months on immunotherapy. The recommended length of the treatment is 18 to 24 months and the
 7
     defendant had completed 8 months prior to discontinuing treatment due to her pregnancy. In light
 8
 9   of the foregoing, the parties have agreed to continue the defendant's sentencing hearing to August

10   26, 2019.
11
     (7) This continuance will also allow the defendant and the United States Probation Office to
12
     include the defendant's most current health condition and medical treatment needs in the
13
     Presentence Investigation Report, which are relevant factors to be considered by the Court in
14
15   determining a reasonable sentence. United States Probation Officer Breanna Flores has no

16   objection to the requested continuance.
17            The parties further stipulate that any delay resulting from this continuance shall be
18
     excluded on the following basis:
19
                       Title 18 United States Code Section 3161(h)(8)(A) - that the ends of justice
20                     served by taking such action outweighs the best interest of the public and the
21                     defendant in a speedy trial.

22
23
24   Dated: May 21, 2019                                            /s/ John F. Garland
                                                                      John F. Garland
25                                                                 Attorney for Defendant
                                                                 LENELE MARIA NUNEZ
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                                                          3
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            Case 1:15-cr-00046-LJO-SKO Document 204 Filed 05/21/19 Page 4 of 4



 1   Dated: May 21, 2019                                              McGregor W. Scott
 2                                                                   United States Attorney

 3                                                                /s/ Kathleen A. Servatius
                                                               By: Kathleen A. Servatius
 4                                                                  Assistant U.S. Attorney
 5
 6                                                ORDER

 7            GOOD CAUSE APPEARING, based on the stipulation of the parties,
 8
     IT IS HEREBY ORDERED that the sentencing hearing for defendant LENELE MARIA
 9
     NUNEZ is continued to September 16, 2019 at 9:30 a.m.
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11   IT IS SO ORDERED.
12
         Dated:      May 21, 2019                                    /s/ Lawrence J. O’Neill _____
13                                                         UNITED STATES CHIEF DISTRICT JUDGE
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